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 9                               UNITED STATES DISTRICT COURT

10                              EASTERN DISTRICT OF CALIFORNIA

11                                         FRESNO DIVISION

12
     GERALD CARLIN, JOHN RAHM, PAUL                   Case No. 1:09 CV 00430-AWI (EPG)
13   ROZWADOWSKI and DIANA WOLFE,
     individually and on behalf of themselves and     CLASS ACTION
14   all others similarly situated,
                                                      STIPULATION AND ORDER TO
15                                    Plaintiffs,     FURTHER MODIFY SCHEDULING
                                                      ORDER (ECF No. 547)
16   v.

17   DAIRYAMERICA, INC., and
     CALIFORNIA DAIRIES, INC.,
18
                                      Defendants.
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 1           Pursuant to the parties' agreement, the parties hereby stipulate, and seek the Court's

 2    approval to modify the current scheduling order in two limited respects, as follows:

 3           WHEREAS, as previously advised, the parties engaged in a further mediation with

 4    Robert A. Meyer at JAMS on February 5, 2018;

 5           WHEREAS, the parties continue to diligently and in good faith discuss a potential

 6    settlement of this case;

 7           WHEREAS, on February 27, 2018, the Court approved the parties' request to stay the

 8    litigation for 45 days and modify the scheduling order in order to allow them to fully focus their

 9    efforts on the potential settlement of this case and avoid the substantial expense of potentially

10    unnecessary discovery and motion practice (ECF No. 547);

11           WHEREAS, Plaintiffs have since made a settlement demand to Defendants, and the

12    parties have agreed, pursuant to Mr. Meyer’s advice and suggestion, to set April 24, 2018 as the

13    deadline for Defendants to respond to that demand so as to provide sufficient time for the two

14    Defendants, their respective Boards of Directors, and the implicated insurers and their counsel, to

15    conduct the necessary reviews and approval processes, if and as needed, in order to fully respond

16    to the demand;

17           WHEREAS, the parties have agreed, and request the Court's approval, to modify the case

18    schedule solely to extend the interim April 12, 2018 deadlines for 1) completion of document
19    productions; and 2) DairyAmerica to file a Request for Reconsideration by the District Court of

20    the Magistrate Judge's Ruling Granting Plaintiffs' Motion to Compel. Those two deadlines

21    would be extended to May 1, 2018 (ECF No. 542). The parties are sensitive to the Court’s

22    previous instruction that it was not inclined to move the schedule in this case and therefore wish

23    to emphasize that all of the other existing deadlines in the case would remain unchanged;

24           WHEREAS, as a further showing of good faith and diligence, the parties agree, in the

25    event that the case does not settle, to schedule 8 – 10 depositions in the month of May, 2018;

26           WHEREAS, the parties believe and agree that the interests of efficiency, economy, and
27    expediency would be best served by modifying the case schedule in two limited respects, as

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 1    requested herein;

 2           NOW, THEREFORE, THE PARTIES STIPULATE AS FOLLOWS:

 3           1.      The deadline for the parties to complete document productions shall be extended

 4    to May 1, 2018.

 5           2.      The deadline for DairyAmerica to file a Request for Reconsideration by the

 6    District Court of the Magistrate Judge's Ruling Granting Plaintiffs' Motion to Compel shall be

 7    extended to May 1, 2018.

 8    DATED: April 9, 2018                 Respectfully submitted,

 9                                         BERMAN TABACCO
10

11                                         By: /s/ A. Chowning Poppler______________
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 1
                                                  ORDER
 2
             Pursuant to the parties’ stipulation, it is hereby ORDERED that:
 3
             1.      The deadline for the parties to complete document productions shall be extended
 4
      to May 1, 2018.
 5
             2.      The deadline for DairyAmerica to file a Request for Reconsideration by the
 6
      District Court of the Magistrate Judge's Ruling Granting Plaintiffs' Motion to Compel shall be
 7
      extended to May 1, 2018.
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 9    IT IS SO ORDERED.
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         Dated:     April 10, 2018                            /s/
                                                          UNITED STATES MAGISTRATE JUDGE
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